                                                                         Motion GRANTED.
                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION



UNITED STATES OF AMERICA                )
                                        )
v.                                      )       No. 3:10-00163
                                        )       Judge Trauger
KEAIRUS WILSON                          )
RONDARIUS WILLIAMSON                    )


      JOINT MOTION TO RECONSIDER AND WITHDRAW ORDER REQUIRING
     WRITTEN DIRECT EXAMINATIONS OF GANG AND EYEWITNESS EXPERTS


      COME NOW the Defendants, Keairus Wilson and Rondarius Williamson, and

the Government, by and through their respective undersigned counsel, and hereby

respectfully request that the Court withdraw its Order requiring the parties prepare

scripted direct examinations of their respective gang and eyewitness experts and

exchange those by February 21, 2012.

       1.   Yesterday afternoon, the Court entered a sua sponte Order requiring that:

                   In the interest of avoiding surprise and aiding the
            court in its Daubert rulings on the eyewitness and gang
            experts, it is ORDERED that the parties shall comply with
            Local Rule 39.01(c)(6)c. [sic] by reducing to writing the direct
            testimony of these proffered expert witnesses.             This
            testimony shall be exchanged with counsel and provided to
            Judge Trauger’s chambers (but not filed) by 5:00 p.m. on
            Tuesday, February 21, 2012.

Docket Entry 1419.

       2.   The parties respectfully request that the Court reconsider and withdraw its

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